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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                            ABERDEEN DIVISION

BEONICA V. GASKILL-CLAYBORN                                                      PLAINTIFF

V.                                                               NO. 1:20-CV-128-DMB-RP

MIGHTY OAKS CHILD DEVELOPMENT
CENTER, LLC and UNEMPLOYMENT
COMPENSATION BOARD OF APPEAL,
Commonwealth of Pennsylvania                                                 DEFENDANTS


                                   FINAL JUDGMENT

      In accordance with the order entered this day, judgment is entered in favor of Beonica V.

Gaskill-Clayborn against Mighty Oaks Child Development Center, LLC in the total amount of

$84,745.70.

      SO ORDERED, this 22nd day of September, 2021.

                                                  /s/Debra M. Brown
                                                  UNITED STATES DISTRICT JUDGE
